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                                      DECLARATION OF RUSSELL CASTILLO



             M y name isRussellCastillo Iam overtwenty-oneyearsofage andhave personalknowledgeofthem atters
             setforth herein.
             lam assigned asan IT Specialistto theU.S.Securitiesand Exchange Com mission'sDivision of
             Enforcementin W ashington,D.C. Aspartofmy duties,Ihave been trained to preservevariousformsof
             onlinecontent. Forinvestigation # F1--04282.Ihavebeen tasked to conductaW ebsiteCapture/video
             Capture/socialM edia/Telegram /live stream/blog.
             In supportofinvestigation number171--04282,and atthe direction ofmy supervisor,lwastasked to
             conductan internetpreservation ofthe follow ing URL's.

             mjcapitalfunds.com
             lcompleted the above mentioned internetpreservation on M ay 12,2021,using the follow ing tools:

             FireshotPro

             The above listed toolsare commonly usedto presen'e internetcontent.
             Isaved the above-m entioned internetpreservation using FTK Imager,which ensuresthattheinternet
             preservation willnotbealtered ormodified during storage.Specifically,FTK Imagerforensically sealsthe
             internetpreservation such thatitcan be opened only with FTK lm ager. The sealed internetpreservation
             hasbeen labeled 17L-04282,and saved to the following location:

             K:hother ProjectshW ebcaptureshimagefiles
             Ialso saved a copy oftheabovementioned internetpreservation along with thisdeclaration to anetwork
             share.The Iocation forthisnetwork share isprovided below:
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     Ideclareunderpenaltyofperjurythattheforegoingistrue,correct,andmadeingoodfaith.
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      RussellCastillol                                                  Executedonthis12thdayofMay2021.
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